Case 1-19-42119-ess Doc18 Filed 05/20/19 Entered 05/20/19 12:36:50

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 19-42119-ess
IN RE: Case No

VERONICA WHITE,
Debtor(s) CHAPTER 7

x
LOSS MITIGATION REQUEST — BY DEBTORS

Lam the Debtor in this case. I hereby request to enter into the Loss Mitigation Program
with respect to

241-41 148 Drive, Rosedale, NY 11422
Mr. Cooper, Loan Number 5368

SIGNATURE: ——- Libbe— ;

. 7
Veronica Waite

I understand that if the Court orders loss mitigation in this case, I will be expected to
comply with the Loss Mitigation Procedures. I agree to comply with the Loss Mitigation
Procedures and participate in the Loss Mitigation Program in good faith. I also understand that
loss mitigation is voluntary for all parties, and that I am not required to enter into any agreement
or settlement with any other party as part of entry into the Loss Mitigation Program. I also
understand that no other party is required to enter into any agreement or settlement with me. I
understand that I am not required to request dismissal of this case as part of any resolution or
settlement that is offered or agreed to during the Loss Mitigation Period.

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Date. Mey 7442, , 2019

Print Names: Veronica White

Telephone nainbert 4 J 5) Ye) 4) 0%

E-mail Address [if any]:

 
